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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Maria R. Martinez
                                      Plaintiff,
v.                                                    Case No.: 1:18−cv−04334
                                                      Honorable Charles R. Norgle Sr.
Caliber Home Loans, Inc., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 19, 2019:


        MINUTE entry before the Honorable Charles R. Norgle: Case dismissed in its
entirety with prejudice and without an award of attorney fees or costs to any party[34].
Civil case terminated. Mailed notice(ewf, )




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